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                               KILMAR ARMANDO ABREGO GARCIA, ET AL.
                                                                                        6:09 pm, Jul 10 2025
                                                        vs.                            AT GREENBELT
                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                       DISTRICT OF MARYLAND
                                            KRISTI NOEM, ET AL.                                  TD
                                                                                       BY ______________Deputy



Civil No. PX 25-951                            DEFENDANTS’ EVIDENTIARY HEARING Exhibits



  Exhibit No.            Identification      Admitted         Witness             Description

           1                 July 10 2025   July 10 2025       Giles    DHS Memorandum dated
                                                                        March 30, 2025 regarding
                                                                        Guidance for Third
                                                                        Country Removals
           2                 July 10 2025   July 10 2025       Giles    Court’s Order at ECF No.
                                                                        216




Exhibit List (Rev. 3/1999)
